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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 RENE ROUSSELL                                      Civil Action No.: 2:12-cv-00714

                                                    Section: “J”
 VERSUS
                                                    Judge: Carl J. Barbier
 DANOS AND CUROLE MARINE                            Magistrate Div.: (1)
 STAFFING, LLC, and BP
 EXPLORATION AND PRODUCTION,                        Magistrate Judge: Sally Shushan
 INC.



                                            ORDER

       Considering the above and foregoing Limited Motion to Dismiss by plaintiff filed prior to

answer, IT IS ORDERED that defendant BP Exploration and Production, Inc., only be and

hereby is dismissed from this case, without prejudice; reserving to plaintiff all rights he may

have against all other parties hereto, named and/or unnamed; and reserving to plaintiff all rights

he may have asserted against BP in other claims and/or proceedings.



       New Orleans, LA, this _______ day of _______, 2012.



                                                     ______________________________
                                                                 Judge
